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                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

   UNITED STATES OF AMERICA                                              PLAINTIFF

               v.          Criminal Nos. 08-50007-002

   SILVIA REYES                                                          DEFENDANT


                                     O R D E R

         Now   on   this   21st   day    of   February,    2008,    comes   on     for

   consideration     the    government's       Motion     To   Amend    Indictment

   (document #64), and Court, being well and sufficiently advised,

   finds that said motion should be, and same hereby is, granted,

   allowing the indictment against Sylvia Reyes to be amended to

   reflect that the defendant's correct name is Silvia Reyes.

         IT IS SO ORDERED.

                                               /s/ Jimm Larry Hendren
                                              JIMM LARRY HENDREN
                                              UNITED STATES DISTRICT JUDGE
